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                                                                                                   7




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                                                                  Christian B. Clark, Esq. (CA SBN 330380)
                                                              2   WEBB LAW GROUP, APC
                                                                  446 W. Fallbrook Avenue, Suite 102,
                                                              3   Fresno, CA 93711
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                                                                  Email: LWebb@WebbLawgroup.com
                                                              5   Email: CClark@WebbLawGroup.com
                                                              6   Attorneys for Defendants,
                                                              7
                                                                                              UNITED STATES DISTRICT COURT
                                                              8

                                                              9                                  DISTRICT OF COLORADO

                                                             10
                                                                  JAMES COREY GOODE, an individual;  )
                                                             11   GOODE ENTERPRISE SOLUTIONS, INC., )          CASE NO. 1:20-cv-00947-DDD-KLM
                                                                  a Texas Corporation;               )
                                                             12                                      )
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                                                                                         Plaintiffs, )         PLAINTIFFS’ REQUEST FOR
                                                             13                                      )         PRODUCTION OF DOCUMENTS TO
                           Fresno, California 93711




                                                                                                     )         JAMES COREY GOODE AND GOODE
                                                             14   v.                                 )         ENTERPRISE SOLUTIONS, INC., SET
                                                                                                     )         ONE (1)
                                                             15   ROGER RICHARDS RAMSAUR, an         )
                                                                                                     )
                                                             16   individual; LEON ISAAC KENNEDY, an )
                                                                  individual; and ADRIENNE           )
                                                             17
                                                                  YOUNGBLOOD, an individual;         )
                                                                                                     )
                                                             18   Defendants.                        )
                                                                                                     )
                                                             19

                                                             20   PROPOUNDING PARTY:                 ROGER RICHARDS RAMSAUR, LEON ISAAC
                                                                                                     KENNEDY, ADRIENNE YOUNGBLOOD
                                                             21
                                                                  RESPONDING PARTY:                  JAMES COREY GOODE AND GOODE ENTERPRISE
                                                             22                                      SOLUTIONS, INC.,
                                                                  SET NUMBER:                        ONE (1)
                                                             23

                                                             24
                                                                         TO JAMES COREY GOOD and his attorney of record:
                                                             25
                                                                         ROGER RICHARDS RAMSAUR, LEON ISAAC KENNEDY, and ADRIENNE
                                                             26
                                                                  YOUNGBLOOD (hereinafter “Plaintiffs”) hereby request and that JAMES COREY GOODE
                                                             27
                                                                  AND GOODE ENTERPRISE SOLUTIONS, INC., (hereinafter “Defendant”) admit the
                                                             28



                                                                                    REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE (1)
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                                                              1   genuineness of the following documents and truth of the following matters of fact, under oath
                                                              2   pursuant to Rule 33 of the Federal Rules of Civil Procedure , within thirty (30) days after service
                                                              3   hereof. When answering these Requests, please furnish all information available to you
                                                              4   including information in the possession of your employees, agents, or attorneys and employees
                                                              5   or agents of your attorneys and not merely information known of your own and personal
                                                              6   knowledge.
                                                              7                                           DEFINITIONS
                                                              8          1.      The terms “DOCUMENT” “DOCUMENTATION” OR “WRITING” shall
                                                              9   mean any writing as defined by Evidence Rule 1001, which shall mean handwriting,
                                                             10   typewriting, printing, photostating, photographing, and every other means of recording upon
                                                             11   any tangible thing any form of communication or representation, including letters, words,
                                                             12   pictures, sounds, or symbols, or combinations thereof; and shall further mean any written,
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                                                             13   recorded, graphic or other matter whether produced, reproduced or stored in paper, cards, tapes,
                           Fresno, California 93711




                                                             14   discs, belts, charts, films, computer storage devices or any other media and shall include, but
                                                             15   not be limited to matter in the form of books, reports, facsimiles, studies, statements, speeches,
                                                             16   notebooks, applications, agreements, contracts, appointments, calendars, diaries, appointment
                                                             17   books, telephone slips, telephone bills, time sheets, telegrams, cables, microfilm, microfiche,
                                                             18   working papers, graphs, manuals, brochures, contracts, memoranda, notes, records, recordings,
                                                             19   drawings, witness statements, objects, tangible things, invoices, bills, checks, check registers,
                                                             20   drafts, bank statements, bank reconciliation statements, recording tapes, recording disks,
                                                             21   correspondence, diaries, directories, desk calendars, expense account records, procedural and
                                                             22   operational manuals, publications, vouchers, files, file jackets, specifications, working
                                                             23   drawings, teletype messages, inter and intra office memoranda, minutes or records of any kind,
                                                             24   tables and lists, purchase orders, reports of any kind, summaries, tabulations, bids, biddings,
                                                             25   bookkeeping entries, invoices, billings, and published material, and shall also include, but not
                                                             26   be limited to, originals, copies (with or without notes or changes thereon) and drafts;
                                                             27   Electronically Stored Information (“ESI”) as defined by FRCP Rule 34 as “including writings,
                                                             28   drawings, graphs, charts, photographs, sound recordings, images, and other data or data


                                                                                     REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE (1)
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                                                     1   compilations—stored in any medium from which information can be obtained either directly or,
                                                     2   if necessary, after translation by the responding party into a reasonably usable form.”
                                                     3          2.      For purposes of these requests, the term “PERSON” includes natural person,
                                                     4   firm, association, organization, partnership, business, trust, and corporation or public entity.
                                                     5          3.      For purposes of these requests, the term “EACH” means each and every.
                                                     6          4.      For purposes of these requests, the term “YOU” and “YOUR” shall mean
                                                     7   JAMES COREY GOODE AND GOODE ENTERPRISE SOLUTIONS, INC., including any
                                                     8   and all of its agents, employees, officers, directors, attorneys, representatives, and any
                                                     9   PERSON(S) acting on its behalf.
                                                    10          5.      For purposes of these requests, the term “PLAINTIFF” shall mean ROGER
                                                    11   RICHARDS RAMSAUR, LEON ISAAC KENNEDY, and ADRIENNE YOUNGBLOOD,
                                                    12   including any and all of their agents, employees, officers, directors, attorneys, representatives,
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             466 West Fallbrook Avenue, Suite 102
                APC
         GROUP, APC




                                                    13   and any PERSON(S) acting on his behalf.
                   Fresno, California 93711
                  Fresno, California 93711
     LAW GROUP,




                                                    14          6.      The terms “RELATING,” “RELATED,” “RELATE,” “RELATES,”
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                                                    15   “REFLECTING,” and/or “REGARDING,” shall mean and include referring to, connected
                                                         with, commenting on, in respect of, about, regarding, discussing, involving, showing,
WEBB




                                                    16

                                                    17   describing, concerning, analyzing, evaluation, consisting, evidencing, mentioning, citing,
                                                    18   quoting, and/or remarking.
                                                    19          7.      For purposes of these requests, “DISTRIBUTE” means to distribute, release,
                                                    20   deliver or otherwise cause possession of a thing to be transferred from one party to another.
                                                    21          8.      For purposes of these requests, the term “IDENTIFY” when used as to
                                                    22   individuals needs to provide that individual’s name(s), last name, home address(es), last known
                                                    23   address(es), last known home telephone number(s), facsimile, social media address, email
                                                    24   address, last known work telephone number(s), and mobile telephone numbers. The term
                                                    25   “IDENTIFY”, when used as to DOCUMENTS or WRITINGS, shall mean to provide
                                                    26   DOCUMENT’S or WRITING’S title(s), author(s), date(s) of creation and present location.
                                                    27

                                                    28



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                                                              1          9.      The term “ACTION” shall mean the lawsuit pending in the United States District
                                                              2   Court for the District of Colorado, Case No.: 1:20-cv-00947-DDD-KLM and any and all
                                                              3   pleadings filed by any of the parties involved in said action.
                                                              4          The term “RELEVANT TIME PERIOD” shall refer to the time period beginning in
                                                              5   January 1, 2014 through current.
                                                              6                                DOCUMENTS TO BE PRODUCED:
                                                              7   REQUEST NO. 1:         Any and all COMMUNICATIONS with Liz Lorie RELATING to the
                                                              8   subject of this lawsuit during the RELEVANT TIME PERIOD.
                                                              9   REQUEST NO. 2:         Any and all DOCUMENTS or COMMUNICATIONS RELATED to the
                                                             10   business between 1091/The Orchard and SBA Media, LLC during the RELEVANT TIME
                                                             11   PERIOD.
                                                             12   REQUEST NO. 3:         Any and all DOCUMENTS that reflect payments that made to the media
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                                                             13   team as alleged in paragraph 68 of the Complaint.
                           Fresno, California 93711




                                                             14   REQUEST NO. 4:         Any and all COMMUNICATIONS referenced in paragraph 79 of the
                                                             15   Complaint.
                                                             16   REQUEST NO. 5:         Any and all COMMUNICATIONS with THERESA YANAROS
                                                             17   RELATING to the formation of SBA Entertainment., LLC during the RELEVANT TIME
                                                             18   PERIOD.
                                                             19   REQUEST NO. 6:         Any and all employment agreements for Defendants Richards, Kennedy,
                                                             20   and Youngblood during the RELEVANT TIME PERIOD.
                                                             21   REQUEST NO. 7:         Any and all DOCUMENTS referenced in paragraph 89 of the
                                                             22   Complaint.
                                                             23   REQUEST NO. 8:         Any and all DOCUMENTS or COMMUNICATIONS that YOU claim
                                                             24   proves YOU or David Wilcock’s involvement in the planning of the Dimensions of Disclosure
                                                             25   conference.
                                                             26   REQUEST NO. 9:         Any and all DOCUMENTS or COMMUNICATIONS that supports
                                                             27   YOUR claim that YOU own some portion of Dimensions of Disclosure.
                                                             28   REQUEST NO. 10: Any and all COMMUNICATIONS with the expert referenced in


                                                                                     REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE (1)
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                                                              1   paragraph 90 of the Complaint.
                                                              2   REQUEST NO. 11: Any and all DOCUMENTS RELATING to work that YOU did for
                                                              3   Dimensions of Disclosure during the RELEVANT TIME PERIOD.
                                                              4   REQUEST NO. 12: Any and all COMMUNICATIONS RELATING to work that YOU did
                                                              5   for Dimensions of Disclosure during the RELEVANT TIME PERIOD.
                                                              6   REQUEST NO. 13: Any and all financial DOCUMENTS RELATING to the entities and
                                                              7   intellectual properties described in YOUR Complaint, including but not limited to Above
                                                              8   Majestic, DoD, Cosmic Secret, Masterquest Course, Accelerating Ascension Course, SBA
                                                              9   Entertainment, LLC, SBA Media, LLC, SBA Graphic Novel, SBA Comic Book, 20 and Back
                                                             10   TV Show, 20 and Back Feature Film, Blue Avians Docuseries, 1091, The Orchard, the hemp
                                                             11   project, and Good Media Publishing, LLC
                                                             12   REQUEST NO. 14: Any and all financial DOCUMENTS RELATING to 1091/The Orchard
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                                                             13   during the RELEVANT TIME PERIOD.
                           Fresno, California 93711




                                                             14   REQUEST NO. 15: Any and all financial DOCUMENTS RELATING to SBA Media, LLC
                                                             15   during the RELEVANT TIME PERIOD.
                                                             16   REQUEST NO. 16: Any and all financial DOCUMENTS RELATING to Goode Media
                                                             17   Publishing, LLC during the RELEVANT TIME PERIOD.
                                                             18   REQUEST NO. 17: Any and all DOCUMENTS identified in YOUR answers to Special
                                                             19   Interrogatories, Set One served concurrently herewith.
                                                             20   REQUEST NO. 18: Any and all DOCUMENTS and COMMUNICATIONS RELATING to
                                                             21   the business relationship between YOU and DEFENDANTS during the RELEVANT TIME
                                                             22   PERIOD.
                                                             23   REQUEST NO. 19: Any and all DOCUMENTS RELATING to compensation or payments
                                                             24   YOU received for the work YOU did on for Dimensions of Disclosure during the RELEVANT
                                                             25   TIME PERIOD.
                                                             26   REQUEST NO. 20: Any and all DOCUMENTS or COMMUNICATIONS reflecting
                                                             27   payments YOU made to Defendants Richards, Youngblood or Kennedy at any time.
                                                             28   REQUEST NO. 21: Any and all COMMUNICATIONS between YOU and Dan Meachum


                                                                                    REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE (1)
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                                                              1   during the relevant time period.
                                                              2   REQUEST NO. 22: Any and all DOCUMENTS OR COMMUNICATIONS, including bank
                                                              3   statements, that provide an accounting of monies diverted and collected by YOU from March
                                                              4   2020 RELATED to the entities and intellectual properties at issue in the instant lawsuit.
                                                              5   REQUEST NO. 23: Any and all DOCUMENTS or COMMUNICATIONS RELATED TO
                                                              6   money YOU received from 1091/The Orchard during the RELEVANT TIME PERIOD.
                                                              7   REQUEST NO. 24: Any and all DOCUMENTS or COMMUNICATIONS RELATED to
                                                              8   YOUR claim that YOU own the intellectual properties and referenced in YOUR Complaint,
                                                              9   including but not limited to Above Majestic, DoD, Cosmic Secret, Masterquest Course,
                                                             10   Accelerating Ascension Course, SBA Entertainment, LLC, SBA Media, LLC, SBA Graphic
                                                             11   Novel, SBA Comic Book, 20 and Back TV Show, 20 and Back Feature Film, Blue Avians
                                                             12   Docuseries, 1091, The Orchard, the hemp project.
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                                                             13   REQUEST NO. 25: Any and all DOCUMENTS or COMMUNICATIONS that support
                           Fresno, California 93711




                                                             14   YOUR claim that Defendants Richards and Kennedy committed embezzlement as described in
                                                             15   YOUR Complaint.
                                                             16

                                                             17   Dated: February 24, 2022                                        WEBB LAW GROUP, APC
                                                             18
                                                                                                                       By____________________________
                                                             19
                                                                                                                         Lenden F. Webb
                                                             20                                                          Christian B. Clark
                                                                                                                         Attorneys for Roger Richards Ramsaur.
                                                             21                                                          Leon Isaac Kennedy, and Adrienne
                                                                                                                         Youngblood
                                                             22

                                                             23

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                                                                                     REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE (1)
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                                                                                                         PROOF OF SERVICE
                                                                1
                                                                                        STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
                                                                2
                                                                            I am employed in the County of San Diego, State of California. I am over the age of 18
                                                                3    and not a party to the within action; my primary business address is: 10509 Vista Sorrento
                                                                     Parkway, Suite 450, San Diego, California 92121. My e-mail address is
                                                                4
                                                                     Office@WebbLawGroup.com.
                                                                5
                                                                                     On February 24, 2022 I caused the service of document(s) described as:
                                                                6      I. YOUNGBLOOD - Response to Request for Production of Documents - Set Two (2)
                                                                      II. YOUNGBLOOD - Response to Special Interrogatories - Set One
                                                                7    III. YOUNGBLOOD Requests for Admissions to COREY GOODE, Set One (1)
                                                                     IV. YOUNGBLOOD Requests for Production of Documents to COREY GOODE, Set
                                                                8
                                                                             One (1)
                                                                9     V. YOUNGBLOOD Requests for Special Interrogatories to COREY GOODE, Set One
                                                                             (1)
                                                                10   on the interested parties in this action by placing a true copy thereof enclosed in a sealed
                                                                     envelope at: San Diego, California, addressed as follows:
                                                                11
                                                                       Valerie Yanaros, Esq.
                                                                12
                                                                       Yanaros Law, P.C.
                      10509 Vista Sorrento Parkway, Suite 450
WEBB LAW GROUP, APC




                                                                13     8300 Douglas Avenue Suite 800
                           San Diego, California 92121




                                                                       Dallas, Texas 75225
                                                                14     Telephone: (619) 238-1010
                                                                       Facsimile: (619) 238-1981
                                                                15
                                                                       Email: Valerie@YanarosLaw.com
                                                                16     Email: Admin@YanarosLaw.com
                                                                       Attorney for James Corey Goode and Goode
                                                                17     Enterprise Solutions, Inc.
                                                                18
                                                                            (BY MAIL) I am readily familiar with this business’ practice for collection and
                                                                19          processing of correspondence for mailing, and that correspondence, with postage thereon
                                                                            fully prepaid, will be deposited with the U.S. Postal Service on the date hereinabove in
                                                                20          the ordinary course of business, at San Diego, California.
                                                                21
                                                                      XX    (BY E-MAIL) I caused the above-referenced document(s) to be electronically mailed to
                                                                22          the offices of the addressee(s) pursuant to Cal. Code of Civ. Proc. § 1010.6. I did not
                                                                23
                                                                            receive, within a reasonable time after the transmission, any electronic message or other
                                                                            indication that the transmission was unsuccessful.
                                                                24
                                                                     Executed on February 24, 2022, at San Diego, California.
                                                                25    XX    (STATE) I declare under penalty of perjury under the laws of the State of California that
                                                                26
                                                                            the foregoing is true and correct.

                                                                27

                                                                28
                                                                                                                         __________________________________
                                                                                                                           MARY GRACE D. CHOW
